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Windows Live Hotmail Print Message Page | of |

RE: mediation

 

. REDACTED

Sent: Wed 5/04/11 9:20 AM
To: ‘Mike Hand (jmikehand@hotmail.com)

Rob Brown has a very expensive ego... | don't think the club should have to pay for his ego. The
majority of us wanted this ended last year with your reinstatement with no conditions. it's about time we
draft a petition that will relieve him of his position.

 

From: Mike Hand [mailto:jmikehand@hotmali.com]
Sent: Tuesday, May 03. 2011 8:43 PM

To: &
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